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       Amita Health
       APNH
       Ascension Health System
       Ascension Via Christi
       Aspire Health Center
       Avera Health
       Baptist Health
       Baylor Scott & White
       Beverly Hospital
       BIDMC
       Big Bend Cares
       Blue Ridge Comm Health
       Blue Ridge Med Center
       Brazos County Health
       Carolina Family Health Center
       Carolina Health Centers
       Central FL Health Center
       Chase Brexton Health Care
       CHC of Central Coast
       CHC of Greater Dayton
       Cherry Street Services
       CHI Franciscan
       Chota Comm Health
       Christ Comm Health Services
       Clackamas
       Clinicas de Salud del Pueblo

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   Community Care TX
   Community Health Care
   Compass Health Care
   Conway Med Center
   Cook Children's Med Center
   Crew Health
   Dartmouth Hitchcock
   Dubois Regional Med Center
   East Valley CH C
   ECHO Community Healthcare
   El Rio Santa Cruz
   Erie Family Health Centers
   Excelth
   Family Med Center Michigan
   Family Medicine Health Center
   Five Horizons
   Fredericksburg Area
   GA Carmichael
   Genesis Healthcare
   Gerald Champion Reg. MC
   Harrisonburg Community Health Care
   Health Point Family Care
   Health Source of OH
   Health West
   HealthLinc
   HealthNet Community Health
   Hendrick Medical
   Hendry Regional Med Center
   Horizon Health Care
   Hudson River Healthcare
   Hudson Valley Community Services
   Iowa Methodist
   Johnson County Hospital
   Kearney County Health Services
   Kent County Memorial Hosp
   Keystone Health
   KIND clinic
   Koerner Whipple Pharmacy
   Lakeland Immediate
   Lancaster Heath Center
   Life Changers Intervention
   Little Rivers Healthcare
   Long Island Jewish
   Lowcountry AIDS Services
   Loyola University Med Center
   Maine Health
   Massac Memorial Hosp
   Matthew 25 AIDS Service
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   MedStar Health System
   Memorial Healthcare System
   Mendocino Health Center
   Meriter Health Services
   Metro Health
   MHC Health Care
   MHEDS
   Morehouse Community MC
   MQVN Community
   Nebraska Medical Center
   Neighborhood Health Center
   New Hanover Regional MC
   NO AIDS task force
   North Country
   North Olympic Healthcare
   Northwest Health Services
   Northwest Human Services
   Oakhurst Med Center
   Oaklawn Hospital
   Open Doors Community Health
   Pascua Yaqui Health Services
   Peace Health
   Peninsula Institute for Community
   Penobscot Community Health
   Piedmont Care
   Porter Hospital
   Primary Health Network
   RAIN
   RAO Community
   Regional Health Care Affiliates
   Rhode Island Hospital
   S. Central MO CHC
   Salina Health Edu. Foundation
   Sanford Health
   Santa Barbara County Health
   Shenandoah Community Health
   St. Alphonsus
   St. Anthony Regional Hospital
   St. Charles Health
   St. Luke's Methodist
   St. Luke's Regional
   Sunset Health Clinic
   Tandem Health
   Thundermist
   Trinity Regional Med Center
   Truman Medical Center
   Tufts Medical Center
   U Mass Memorial
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       UC Davis
       UCLA
       UCSD
       UCSF
       Umpqua Community Health
       Unity Point Health
       University of Kentucky
       University of Utah
       University of Vermont
       Upper Great Lakes Family Health Care
       Upper Savannah Care Services
       URMC Rochester System
       Valley Community Health
       Valley Professionals CHC
       Valleywise Health
       Victoria County Public Health
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       WVU Hospital System
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